
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission bearing date April 28, 1966.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 31 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petition is therefore denied. The cross-petition is denied; the petition for attorney’s fee in connection with cross-petition is denied. The petition for attorney’s fee filed by Respondent Ann L. Cherry in connection with defense against petition for writ of certiorari is granted in the amount of $250.00.
THORNAL, C. J., and THOMAS, ROBERTS, DREW and ERVIN, JJ., concur.
